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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA



                  v.                                    22-cr-233-01 ABJ

KEVIN M. CRONIN



               MEMORANDUM IN SUPPORT OF SENTENCE

      Kevin Cronin is a good human being. He is a law-abiding member of
his community and has long been devoted to human rights. In the military
he trained as a mediator to resolve Employment Opportunity and Equal
Employment Opportunity disputes. He volunteered with Habitat for
Humanity. He also participated in trainings to serve as a facilitator for victims
of sexual assault. Since his retirement from the army, he has been employed
at the United States Post Office. As a postal worker, he served his co -
workers as a union representative. This is a man who cares deeply about his
country, his fellow citizens and his beloved family.


       On April 12, 2023, Kevin Cronin will stand before the Court with
enormous remorse and great humility.          He deeply regrets coming to
Washington on January 6th, 2021.          Upon appointment of counsel, he
requested I tell the United States Attorney he was ready to be held
accountable. I notified the Government of his desire to accept responsibility
for his conduct, and he entered an early plea to Count 6 to the charge of


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Parading, Demonstrating or Picketing in a Capitol Building in violation of
Title 40 USC § 5104(e)(2)(G).


      Kevin accepts there will be consequences for his unlawful actions on
January 6th, 2021. He trusts that the Court will consider the history of this
very good man and his lifetime of public service in imposing an appropriate
and just sentence.


      Kevin was arrested June 13, 2022. Since his release he has been in
full compliance with Pretrial Services. He is a lifetime public servant who
served twenty-six years in the military, first as a member of the marine corps
and then in the U.S. Army. He is currently employed by the United States
Postal Service.

      Kevin Cronin drafted a biography for the Court in the hope that you
view his offense conduct on one day, January 6, 2021, in the context of the
9,490 days when he served his country as a proud member of the Armed
Forces throughout the world. As Bryon Stevenson states in Just Mercy,
"[d]on't judge a man by the worst thing he has ever done."


      Kevin did not come to Washington to do harm. He acknowledges he
made a grave mistake in following the entreaty of then President Trump to
walk from the Ellipse to the Capitol with his sons. He is ashamed and
humiliated that he entered the Capitol grounds at all.



In his defense, he used neither force nor violence. He did not come to
Washington with weapons or bear spray, or anything meant to do harm.
Kevin Cronin’s culpability appears to be minimal in contrast with rioters who



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destroyed or stole government property and/or those who assaulted or
threatened law enforcement officers on that date.

      He came in peace and truly wishes he had left from the Ellipse after
the speeches and never entered the Capitol grounds. Though he remained
inside for only five minutes, he recognized the wrongfulness of his entry
almost immediately. He accepts full responsibility for his actions. Every day
he regrets that he and his sons did not leave from the Ellipse, before they
walked down the avenue and unlawfully entered the Capitol.

      He no longer relies on Fox News for his information. He now pursues
information in the mainstream news and has no interest in social media. He
is very concerned that his decision to bring his sons to watch the President
speak and the horror that followed at the Capitol will limit their opportunities
and impact their futures. He blames himself for placing his sons' futures in
jeopardy. He accepts full responsibility for his actions. He understands that
actions have consequences.

      We adopt the recommendation of United States Probation for a
period of probation and payment of restitution. In light of his lifetime in
public service, his good citizenship, and his devotion to his family we are
requesting Probation and $500.00 restitution to be paid immediately. Mr.
Cronin has the ability to pay a fine .He has the ability to perform Community
Service.

      He is an excellent candidate for Probation.



                                           Respectfully submitted,

                                           ____________/s_____________


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